              Case 2:20-cv-01215-RSM Document 14 Filed 10/21/20 Page 1 of 1




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                                   UNITED STATES DISTRICT COURT
 8                                WESTERN DISTRICT OF WASHINGTON
                                            AT SEATTLE
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      AMAZON.COM, INC., a Delaware                      Case No. C20-1215RSM
11    corporation; and J.L. CHILDRESS CO., INC.,
      a California corporation,                         ORDER UNSEALING CASE
12
13                  Plaintiffs,

14                    v.
15    TANG ZHI, an individual, d/b/a Kelvee, et al.,
16
                  Defendants.
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            On August 14, 2020, the Court temporarily sealed this case for 60 days. Dkt. #10. This
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     time period has passed, and the Court has reviewed a status report from Plaintiffs indicating
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     that this case should be unsealed by October 21, 2020. Dkt. #13.
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22          The Court finds good cause to unseal this case. Accordingly, the Court ORDERS that

23   this case be immediately unsealed.
24
            DATED this 21st day of October, 2020.
25
26
27                                               A
                                                 RICARDO S. MARTINEZ
28                                               CHIEF UNITED STATES DISTRICT JUDGE



     ORDER UNSEALING CASE - 1
